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 4
   Attorney for Defendant
 5 THANG QUOC BUI
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9 UNITED STATES OF AMERICA,             )                No. CR S 05 0542 GEB
                                         )
10               Plaintiff,              )                STIPULATION AND ORDER
                                         )                CONTINUING STATUS CONFERENCE
11         v.                            )                AND EXCLUDING TIME
                                         )
12   THANG QUOC BUI, et al.,             )
                                         )
13               Defendants.             )
     ____________________________________)
14
            It is hereby stipulated and agreed to between the United States of America by and through
15
     Matthew C. Stegman, Assistant United States Attorney; defendant, TRI HUU BUI, by and
16
     through his counsel, Scott L. Tedmon; defendant, MICHELLE CHAUN GOC LE, by and
17
     through her counsel, Mark Bledstein; defendant, NAM GIA PHAMTRAN, by and through his
18
     counsel, Alex Kessel; defendant, THANG QUOC BUI, by and through his counsel, Tim
19
     Warriner; and defendant TUNG THANH HUYNH, by and through his counsel, Matthew C.
20
     Bockmon, Assistant Federal Defender, that the status conference presently set for December 4,
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     2009, be continued to January 8, 2010.
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            Counsel requires additional time to engage in plea negotiations and legal research and
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     investigation concerning possible plea. Additionally, Mr. Kessel is now engaged in trial in
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     People v. Rudolpho Rabonza (Los Angeles County Superior Court, No. LA 060 4491), and will
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     be so engaged on the date presently set for the status conference.
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            It is further stipulated that the period of time from December 4, 2009 through and
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28                                                    1
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 1 including January 8, 2010, be excluded in computing the time within which trial must commence
 2 under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 for
 3 continuity and preparation of counsel, and 18 U.S.C. § 3161(h)(7)(B)(ii) and Local Code T2 for
 4 complexity.
 5 DATED: December 3, 2009              /s/ Tim Warriner
                                        Attorney for Defendant, THANG QUOC BUI
 6
                                        /s/ Matthew C. Bockmon, Assistant Federal Defender
 7                                      Attorney for Defendant, TUNG THANH HUYNH
 8                                      /s/ Scott L. Tedmon
                                        Attorney for Defendant, TRI HUU BUI
 9
                                        /s/ Mark Bledstein
10                                      Attorney for Defendant, MICHELLE CHAUN GOC LE
11                                      /s/ Alex Robert Kessel
                                        Attorney for Defendant, NAM GIA PHAMTRAN
12
     DATED: December 3, 2009            /s/ Matthew C. Stegman, Assistant United States Attorney
13
14
                                               ORDER
15
           IT IS SO ORDERED.
16
17 Dated: December 3, 2009
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19                                          GARLAND E. BURRELL, JR.
                                            United States District Judge
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